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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

LUIS TEJERO,                                §
                                            §
              Plaintiff,                    §
                                            §       CAUSE NO. AU-16-CV-767-SS
              v.                            §
                                            §
PORTFOLIO RECOVERY                          §       Hon. Sam Sparks
ASSOCIATES, LLC and                         §
WESTERN SURETY COMPANY                      §
                                            §
               Defendants.                  §



               ORDER GRANTING PLAINTIFF’S MOTION TO RECUSE


      After considering Plaintiff’s Motion to Recuse, and any response or reply filed, the
Honorable Sam Sparks hereby recuses.

       SIGNED on ______________________, 20___.




                                                         ________________________________
                                                           THE HONORABLE SAM SPARKS
                                                         UNITED STATES DISTRICT JUDGE
                                                            WESTERN DISTRICT OF TEXAS
